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                                     December 23, 2020

 Hon. Brian M. Cogan
 United States District Judge
 United States Courthouse
 225 Cadman Plaza East
  Chanbers 704S
  Brooklyn9 New York 11201                                            Filed via ECF



         flo..    Brownv. G & KLef f ;erts Associates, LLC
                 Case No.: 1:20-cv-05540

                                      JOINT LETTHR

  Dear Judge Cogan,

         The parties jointly submit this letter in compliance with the Court's Scheduling
  Order dated November 13, 2020, (D,E. 6) and state as follows:

         1.       A brief description of the nature of the action and the principal
                 defenses thereto;

                 By Plaintiff:   This is a suit for injunctive relief brought pursuant to the
                 provisions of the Americans with Disabilities Act, 42 U.S.C. § 12181 et
                 seq. ("ADA"), the New York State Human RIghts Lawo N.Y. Exec. §
                 296(2)(a) (the "NYSHRL"), and the New York Civil Rights Law, N.Y.
                 Civ. Rights § 40 et seq., (the "NYCRL"). Plaintiff is disabled and uses a
                 wheelchair for mobility. Defendant, G & K Lefferts Associates, LLC is
                 the owner of the real property and improvements which are the subject of
                 this action, including a Key Food Supermarket generally located at 114-11
                 Lefferts Blvd., Queens, New York 11420. Plaintiff alleges that he visited
                 the Defendant's Property where he encountered numerous architectural
                 barriers which prevented and hindered his access. Plaintiff seeks an
                 injunction requiring the removal of architectural baITiers that he contends
                 are readily achievable to accomplish. Specifically, Plaintiff contends that
                 the property lacks accessible parking, lacks an accessible entrance, has
                 inaccessible payment and service counters, and has inaccessible
                 merchandise aisles. Plaintiff also seeks reimbursement for his fees and
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              costs in bringing this action under the ADA and statutory danages under
              New York State civil rights laws of $500.00 per violation.

              By Defendant:

              Defendant denies each and every allegation contained in the Complaint.
              Defendant's principal defenses include: that the changes to the premises
              sought by Plaintiff are impractical, would fundamentally alter the nature
              of the premises and the business at the premises that the premises was
              built and designed prior to the enactment of the ADA, and any proposed
              changes are not readily achievable.

       2.      A brief explanation of why jurisdiction and venue lie in this court

               This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§
               1331 and 1343 and has pendant and supplemental jurisdiction over the
               state law claims that are alleged pursuant to 42 U.S.C. § 1367, et seq.
               Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) due to the
               situs of the Defendant's property which is located in Queens, New York.

        3.      A brief description of all contemplated and/or outstanding motions;

               By Plaintiff: None known at this time.

               By Defendant: None known at this time.


        Respectfully submitted,                    Respectfully Submitted,




       Louis Mussman, Esq.
       Ku & Mussman, P.A.
       Olivia D. Rosario, Esq.                     Attorneys f or Def ;endant
       Local Counsel
       Attorneys for Plaintiff




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